 1                                UNITED STATES DISTRICT COURT
 2                               WESTERN DISTRICT OF WASHINGTON
 3                                         AT SEATTLE
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10   JOSEPH J. HESKETH III, on his behalf                  No. 2:20-cv-01733
11   and on behalf of other similarly situated
12   persons,                                              DECLARATION OF CAROL STRONG IN
13                                                         SUPPORT OF TOTAL RENAL CARE,
14                             Plaintiff,                  INC.’S NOTICE OF REMOVAL
15
16           v.
17
18   TOTAL RENAL CARE, INC., on its own
19   behalf and on behalf of other similarly
20   situated persons,
21
22                             Defendant.
23
24
25
             I, Carol Strong, declare as follows:
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27
             1.         I am employed by Total Renal Care, Inc. (“TRC” or “Defendant”) as a
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29
     Payroll Projects Specialist. I am of legal age and competent to make this declaration. The
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     statements contained herein are based on my personal knowledge and on documents
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33
     maintained by DaVita, including its subsidiaries like TRC, in the ordinary course of
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35
     business.
36
37
             2.         I understand that the plaintiff in this action alleges claims on behalf of a class
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39
     of all non-exempt employees who worked for Defendant after January 31, 2020.
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41
             3.         I have reviewed the payroll data kept in the ordinary course of business for
42
43
     non-exempt Washington employees during the period January 31, 2020 to October 31, 2020.
44
45
     The data include the regular hours worked, regular rate of pay, and premium rate of pay.
46
47


                                                                                        Perkins Coie LLP
     DECLARATION OF CAROL STRONG                                                  1201 Third Avenue, Suite 4900
     (No. 2:20-cv-01733) – 1                                                        Seattle, WA 98101-3099
                                                                                      Phone: 206.359.8000
     LEGAL150216669.1                                                                  Fax: 206.359.9000
 l           4.         Based on my review of the payroll data, the premium pay (.5 times regular
 2
 3   base rate) for the regular (not premium) hours worked by putative class members in
 4
 5   Washington from January 31, 2020 through October 31, 2020 amounts to more tban$23
 6
 7   million.
 8
 9           5.         On March   31, 2020, DaVita changed its Disaster Relief Policy.
10
11           6.         Based on my review of the payroll data, the premillm pay (-5 times regular
12
13   base rate) for the regular (not preroiun;i) hours worked by putative class members in
14
15   Washington between January 31, 2020 and the change to the Disaster Relief Policy on
16
17   March 31, 2020, totals $5,082,320.
18
19           I declare under penalty of perjury wider the laws of the State of Washington that the
20
21   foregoing is true and co�.
22
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24
25           Executed in     �a VIu 1,,,lCl �           ;..,cr...A_,____ on November 23, 2020.
                                                   , _.l,.,.
26
27                             City
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                                                                                      Pe�kin• Cole t,LP
     DECLARATION OF CAROL STRONG- 2                                             1201 Third Avenue, Suite 4900
                                                                                  Seattle, WA 98101-3099
                                                                                    Phone: 206.359.8000
     LEGAL150216669.1                                                                Fm<; 206.359.9000
 1
 2                                  CERTIFICATE OF SERVICE
 3
 4
 5           I hereby certify under penalty of perjury that on November 23, 2020, I electronically
 6
 7   filed the foregoing document with the Clerk of the Court using the CM/ECF system, which
 8
 9   will send notification of such filing to the following:
10
11
        Christina L Henry, WSBA 31273                          Via Hand Delivery
12
13      Email: chenry@hdm-legal.com                            Via U.S. Mail, 1st Class, Postage
14      HENRY & DEGRAAFF, PS                                      Prepaid
15      787 Maynard Ave S                                      Via Overnight Courier
16      Seattle, WA 98104                                      Via Facsimile
17                                                     X       Via E-Filing
        Telephone: 206-330-0595
18
19      Facsimile: 206-400-7609
20      Attorney for Plaintiffs
21
22      J. Craig Jones                                         Via Hand Delivery
23      Pro Hac Vice Forthcoming                               Via U.S. Mail, 1st Class, Postage
24                                                                Prepaid
        Email: craig@joneshilllaw.com
25
        JONES & HILL, LLC                                      Via Overnight Courier
26
27      131 Highway 165 South                                  Via Facsimile
28      Oakdale, LA 71463
29      Telephone: 318-335-1333                        X       Via E-Filing
30      Facsimile: 318-335-1934
31
        Attorney for Plaintiffs
32
33
34      Scott C. Borison                                       Via Hand Delivery
35      Pro Hac Vice Forthcoming                               Via U.S. Mail, 1st Class, Postage
36      Email: scott@borisonfirm.com                              Prepaid
37      BORISON FIRM, LLC                                      Via Overnight Courier
38                                                             Via Facsimile
        1900 S. Norfolk Rd. Suite 350
39
40      San Mateo CA 94403
        Telephone: 301-620-1016                        X       Via E-Filing
41
42      Facsimile: 301-620-1018
43      Attorney for Plaintiffs
44
45           DATED this 23rd day of November 2020 in Seattle, Washington.
46
47                                          s/ Kyle Koats
                                            Kyle Koats, Legal Practice Assistant


                                                                                      Perkins Coie LLP
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                                                                                    Phone: 206.359.8000
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